Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 1 of 32

IN THE UNITED STATES DISTRICT COURT oe ORI GINAL

FOR THE DISTRICT OF NEW MEXICO

Q7APR2Z1 ANU GG [C
Case No. CIV 94 892 JC

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CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

SOP ge
i”

Plaintiffs,
Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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PLAINTIFF AUDREE WILSON’S MEMORANDUM OF LAW IN RESPONSE
TO HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT

ORAL ARGUMENT REQUESTED

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Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 2 of 32

I. PRELIMINARY STATEMENT

The passages upon which Audree Wilson has sued accuse her of
being a "bystander who refused to intercede in the flagrant child
abuse going on in front of her." [Book p. 27; Second Amended
Complaint 410.] The Book defines flagrant child abuse with the
examples of her son Brian Wilson receiving blows with a
splintered 2x4 board across his back and midsection (Book p. 25)
and being tied to a tree (Book p. 27). The Book also asserts
that the incidents described "are modest compared to the worst."
[Book p. 27; Second Amended Complaint 411. ]

HarperCollins’ motion for summary judgment relies on a
grossly distorted application of the substantial truth doctrine,
which ignores Audree Wilson’s testimony that the examples of
flagrant child abuse described in the Book did not occur.
Plaintiff, who is now in her 80’s, testified:

"Q. [The Book states:] .. . ’I was doubled over, lying on
the ground in a fetal position, trying to shield
whatever part of my skinny little boy’s body I could
from my father. With a splintered two-by-four, he
delivered blows to my back and midsection, standing
over me, a giant with a giant’s weapon, swinging it
over and over as if truly delighted by the dull thud it
made against my torso.

‘Stop, Dad. Please. You’re hurting me.’ Why was
he doing this?

Moments earlier I had been playing with our
neighbor’s puppy, which my dad had volunteered to watch
while its owner was out of town. He kept it chained in
our backyard. Wanting to play fetch with the dog, I
untied the little critter. But no sooner did I loosen
his collar than the dog ran off into another yard.

Although I called him, my dad and not the dog came
flying around the house. The expression on his face
told me what was coming. He asked what the hell
happened, but didn’t wait for me to answer. That was
obvious. Looking for something with which to strike

wil3\010\pleading 2
Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 3 of 32

me, he picked up the nearest implement -- the
splintered two-by-four -- and began swinging full force
into the center of my back.

With the first blow, I let out a cry and doubled
over but he kept swinging.

‘I thought I told you not to unleash the dog,’ he
said.

‘Ouch!’ ‘Buckle up, ya namby-pamby,’ he said.

‘Ouch!’

One more shot to my leg and he tossed the board to
the side. I didn’t dare look up at him as he went back
to the house.

‘And bring the mutt back,’ he called.

Do you recall such an incident being recounted to you
by either Murray or Brian?

Never. It’s ridiculous

You want to supplement your answer?

Do I what?

Do you want to add to your answer?

It’s a lot of hogwash.

How do you know?

I just know.

Were you there?

No.

How do you know it didn’t happen?

I don’t think it happened. No. A man
picking up a splintered, what was it?
Two-by-four board.

Two-by-four. No. It’s not true.

It’s not true?

I don’t think it’s true at all. No.

And the basis for your belief that it didn’t
happen is what?

Well, I - first of all, I think Brian would
have been bruised and have splinters in him
being whacked that hard. No. It didn’t
happen. I don’t know where that came from.

[Audree Wilson Depo. pp. 205-208, attached as Exhibit 1.]

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* * *

What is the harshest physical punishment you’re aware
Murray ever administered to one or more of his sons?

I think he took his belt off, in fact, I know he did,

and -- I don’t know which one -- cracked them across

the rear end.

How many times?

Oh, I don’t know. Not many.

How old was the person who was whacked with the belt?
Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 4 of 32

A. Approximately nine."

[Audree Wilson Depo. p. 210, attached as Exhibit 1.]

* * *

"Q. [Are the stories true of Murray] '’forcing preteen Brian
to defecate on a newspaper to humiliate him or
punishing the brothers by forcing them to stare into
the socket of his false eye?

A. Total, unmitigated gall and lie, lie, lie."

[Audree Wilson Depo. p. 259, attached as Exhibit 1.]
*

* *

"QO. And on how many occasions altogether would you say you
were present when he administered one form of physical
punishment or another to the boys? Whether in the
house or in the studio or in the street or anywhere
else?

A. I would not venture to guess.

Q. I don’t want you to guess. Can you make some
reasonable estimate?

A. In all of our years together you mean?

Q. Yes, ma’am.

A. Maybe five.

Q. And is it your recollection that in each of those five
instances that you sought to stop Murray from
inflicting the physical punishment?

A. I don’t remember."

[Audree Wilson Depo. p.p. 207-208, lns. 9-18, attached hereto as

Exhibit 1.]

The Declaration of Carl Wilson, attached as Exhibit 2

confirms the falsity of the defamatory charge:

"The Book (p. 27) accuses my mother Audree of failing
to intercede in ’flagrant child abuse going on in front
of her’, against my brother Brian by my father Murray.
The Book describes the flagrant child abuse with the
examples of Brian being tied to a tree, and Brian being
hit repeatedly with a splintered 2x4 board across his
back and midsection. To my knowledge those incidents
never occurred. If they had occurred, or if any
incidents of that magnitude had occurred, I surely have
known about them since I shared a room with my brother
Brian and we talked about the punishments we received
from our father. While our father did spank or hit us

wil3\010\pleading 4
Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 5 of 32

from time to time while we were growing up, I never

experienced or heard about the types of flagrant child

abuse described in the Book."
[Declaration of Carl Wilson, attached as Exhibit 2.]

HarperCollins asserts that Audree Wilson’s testimony
acknowledging that her husband hit Brian with his hand and
spanked one of the boys with his belt once, establish the
substantial truth of the defamatory passages. HarperCollins’
defense of truth fails because those facts are of the type which
would produce a different effect upon the reader than do
allegations that she allowed flagrant child abuse to occur along
the lines of delivering repeated blows with a splintered 2x4.
II. APPLICABLE LAW & ARGUMENT

The doctrine of substantial truth which HarperCollins
invokes provides that "minor inaccuracies do not amount to
falsity so long as ’the substance, the gist, the sting of the
libellous charge be justified.’" Masson v. New Yorke azine
Inc., 501 U.S. 496, 517 (1991). However, this definition which
the motion quotes is only a partial explanation of the law. As
the United States Supreme Court went on to explain in Masson, the
"statement is not considered false unless it ‘would have a
different effect on the mind of the average reader’" from that
which the asserted truth would have produced. Masson, 501 U.S.
at 517. For example, in Kurz v. Evening News Assn., 453 N.W. 2a
309 (Mich. Ct. App. 1990), the article truthfully reported the

fact of the plaintiff’s arrest on charges of assaulting a police

officer with a shotgun, but according to the plaintiff's

wil3\010\pleading 5
Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 6 of 32

allegations, falsely stated that the plaintiff had threatened to
kill someone and fire a shot. The trial court granted summary
judgment in favor of the defendant newspaper, and the Court of
Appeal reversed, because there was a factual dispute as to
whether the plaintiff had ever threatened to kill anyone or in
fact had fired his weapon:

"Given the tenor of the entire article, we cannot say

as a matter of law that this possible inaccuracy

constitutes an /inaccuracy that does not alter the

complexion of the affair and would have no different
effect on the reader than that which the literal truth
would produce./"
Kurz, 453 N.W. 2d at 310. The substantial truth rule is also
reflected in New Mexico Jury Instruction 13-1006, defining
falsity: "One or more statements of fact in the communication
must be false in a material way. Insignificant inaccuracies of
expression are not sufficient."

HarperCollins’ motion is wrong to assert that Plaintiff
bears the burden of proving falsity, in view of this Court’s
determination that Plaintiff is a private figure (which the Court
ruled in denying HarperCollins’ earlier motion for summary
judgment on actual malice and negligence). As the New Mexico

Uniform Jury Instructions provide, where the Plaintiff is a

private figure, truth operates as a defense for which the

defendant has the burden of proof. N.M.U.J.I. 13-1013. This is
the common law rule that falsity is presumed. As the Committee
Notes to New Mexico Jury Instruction 13-1013 shows, this

placement of the burden on the defendant is in accord with the

wil3\010\ pleading 6
Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 7 of 32

United States Supreme Court’s ruling in Philadelphia v. Hepps,
475 U.S. 767 (1986), that under the First Amendment the burden of
proof in cases against media defendants shifts to the plaintiff
only: in cases involving private figures with issues of public
concern; in cases involving public officials; and in cases
involving public figures with issues of public concern.

Philadelphia v. Hepps, 475 U.S. at 768-769. See, Ramirez v.

Rogers, 540 A.2d 475 (Supr. Jud. Ct. Me. 1988) (defendant has
burden of proving truth of statements accusing private figure
plaintiff of abuse toward gymnastic school students).

Two additional points should be understood. The fact that
Defendant bears the burden of proving truth has no practical
effect on the application of the substantial truth doctrine:

"The essence of that inquiry remains the same

whether the burden [on truth/falsity] rests
upon plaintiff or defendant."

Masson v. New York Magazine, Inc., 501 U.S. 496, 517 (1991).
However, HarperCollins’ failure to provide a declaration by Brian
Wilson or any witness attesting to truth exposes a critical
failure on HarperCollins’ part to meet its burden of proof.
Applying the law to the facts, the question presented by
Harpercollins’ motion is: Does the admission that Plaintiff
allowed her child to be hit with his father’s hand and possibly
once with his belt produce the same effect on the reader as
accusations of standing by in the face of flagrant child abuse as
exemplified by repeated blows across the back and midsection with

a splintered 2-by-4? Plaintiff submits that the answer is

wil3\010\pleading 7
Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 8 of 32

clearly, "no," or at least a question for the jury, as it was in
Masson.

A parent has the right, under California law, to administer
reasonable corporal punishment. People v. Whitehurst, 9 Cal.
App. 4th 1045, 1050 (1992); People v. Curtis, 116 Cal. App. Supp.
771, 775 (Ct. App. 1931). In hindsight, Audree Wilson’s personal
view is that any such corporal punishment is abusive. However,
that does not change the falsity of the charge made against her
by HarperCollins in the Book. Beating a child with a splintered
2x4 is criminal child abuse under California Penal Code Section
273. In People v. Jaramillo, 98 Cal. App. 3d 830 (1979), the
defendant mother was convicted of felony child endangering (Penal
Code §273a) for hitting her child with ". . . an 18 to 20-inch
long, 1 inch diameter stick ..." Furthermore, California law
is clear that a parent who stands by and allows such child abuse
is also guilty of violation of Penal Code section 273. People v.
Figueroa, 167 Cal. App. 3d 981 (1985). California law is
relevant because that is where the flagrant child abuse is said
to have occurred, and it is the state of Plaintiff’s residence.

In view of the fact that HarperCollins’ motion presents no
admissible evidence that incidents of flagrant child abuse
occurred along the lines described in the Book, and HarperCollins
bears the burden of proof, the motion should be denied. In this
regard, the Court should be aware that HarperCollins’ assertion
that incidents of child abuse were reported in an earlier article

by Steven Gaines in New West magazine, and his subsequent book

wil3\010\ pleading 8
Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 9 of 32

about the Beach Boys ("Heroes & Villains, The True Story of the
Beach Boys") do not constitute a source of admissible evidence on
the issue of truth. Newspaper articles constitute a "classic
case of double hearsay," and are inadmissible to prove the truth
of the matter asserted. New England Mutual Life Ins. Co. v.
Anderson, 1987 U.S. Dist. LEXIS 8188 (D. Kan. 1987), aff’d, 888
F.2d 646, 650 (10th Cir. 1989). Further, serious discrepancies
between Mr. Gaines’ article and book on the subject of abuse,
underscore the very reasons why the materials are inadmissible
hearsay -- they are the product of second hand reports by unknown
persons. See New England Mutual Life, 888 F.2d at 650 ("[T]he
fact that the statement was in the form of a newspaper account
reinforces its hearsay character, for the final product is not
the reporter’s alone"). Mr. Gaines’ New West article states,
"Audree sobbed quietly and helplessly in the background, she
says, while her husband unleashed an arsenal of sadistic
punishments on the boys - forcing a preteen Brian to defecate on
a newspaper to humiliate him or punishing the brothers by forcing
them to stare into the socket of his false eye." [Exhibit 3
hereto, and part of HarperCollins’ Exhibit C.] Significantly,
however, his subsequent book "Heroes & Villains" does not
identify Audree as the source, and moreover, reports that the

story may be derived from a prank by Brian and his brothers with

rubber doggy-do:
“Once, to humiliate a preteen Brian, Murray

reportedly forced him defecate on a newspaper
or plate in front of the family. (This story

wil3\010\pleading 9
Case 1:94-cv-00892-JEC-LFG Document161 _ Filed 04/21/97 Page 10 of 32

has many versions. Another popular one is

that Brian and his brother served up a

portion of rubber "doggy-do" to Murray on a

plate, which was taken as a good-natured

prank. Both versions of the story are sworn
["Heroes and Villains", p. 47, attached hereto as Exhibit 3, and
part of HarperCollins’ Exhibit F.]

HarperCollins’ assertion that Audree Wilson suffered no
reputational injury because of those prior works speaks to an
issue that has no relevance to the motion for summary judgment,
and is in any event incorrect. It is important to remember that
"Wouldn’t It Be Nice" is a presented as an autobiography, and as
such purports to provide a first-hand account. By contrast, the
prior book and articles to which HarperCollins refers are not,
and readers of those pieces would expect that they report second
hand rumors. Further, it is hornbook common law that, subject
to only a few exceptions for fair and true reports of judicial
proceedings and official charges, "one who repeats or otherwise
publishes defamatory matter is subject to liability as if he had
originally published it." (Restatement Tort 2d § 578).

Contrary to HarperCollins’ assertion, Audree Wilson did
testify to suffering injury from the Book’s assertion that she
stood by and watched flagrant child abuse occur:

"Q. . . . [C]ould you please describe for me the emotional

distress that you suffered.

A. Well, it was humiliation, wondering if the people I was

meeting had read the book and believed it. It made me
shy.

Q. What do you mean it made you shy?
A. Well, it made me sort of withdrawn. In my own head I

wil3\010\pleading 10

Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 11 of 32

®
‘ felt that way."
° [Audree Wilson Depo. p. 337.]
III. CONCLUSION
° The substantial truth argument HarperCollins asserts is
unavailing, and the motion fails to present evidence proving the
type of flagrant child abuse described in the Book.
e Significantly, no declaration by Brian Wilson or any witness is
provided.
For all of the foregoing reasons, Plaintiff Audree Wilson
e respectfully submits that HarperCollins’ motion for summary
judgment should be denied.
DATED: March 19, 1997 Respectfully submitted,
®
LANGBERG, COHN & DROOZ
Se
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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 12 of 32

PROOF OF SERVICE
1013A (3) CCP

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the county of Los Angeles, State of
California. I am over the age of 18 and not a party to the
within action; my business address is 12100 Wilshire Boulevard,
Suite 1650, Los Angeles, California 90025.

On March 19, 1997, I served the foregoing document described
as PLAINTIFF AUDREE WILSON’S MEMORANDUM OF LAW IN RESPONSE TO
HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT in this action:

by placing the true copies thereof enclosed in sealed
envelopes addressed as stated on the attached mailing list.

Xx by placing the original _X_ a true copy thereof enclosed
in sealed envelopes addressed as follows:

R. Bruce Rich, Esq.

Weil, Gotshal & Manges
767 Fifth Avenue

New York, New York 10153

William S. Dixon, Esq.

Rodey, Dickason, Sloan, Akin & Robb, P.A.
Albuquerque Plaza

201 Third Street NW, Suite 2200
Albuquerque, New Mexico 87103

x BY MAIL

_X Iam “readily familiar" with the firm’s practice of
collection and processing correspondence for mailing. Under that
practice it would be deposited with U.S. Postal Service on that
same day with postage thereon fully prepaid at Los Angeles,
California in the ordinary course of business. I am aware that
on motion of the party served, service is presumed invalid if
postal cancellation or postage meter date is more than one day
after date of deposit for mailing in affidavit.

Executed on March 19, 1997, at Los Angeles, California.
x FEDERAL I declare that I am employed in the office of a

member of the bar of this court at whose direction the service
was made.

BARRY B. LANGBERG

wil3\010\pleading 12

Case 1:94-cv-00892-JEC-LFG Document 161

Filed 04/21/97

Page 13 of 32

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 14 of 32

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual and ) CERTIFIED
AUDREE WILSON, an individual, )
Plaintiffs, ) COP

vs. ) No. CIV 94 892 JG

HARPERCOLLINS PUBLISHERS, ) VOLUME II
INC., a Delaware corporation, )

Defendant. )

Continued deposition of AUDREE WILSON,
taken at 9500 Wilshire Boulevard,

Beverly Hills, California, commencing

at 10:00 A.M., Tuesday, November 5, 1996,

before Paulette M. Griffin, CSR No. 2499.

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CouRT REPORTING

3530 Witskire Boutewrp, Surte 1700
Los Ancetes, CA 90010

(213) 385-4000 © (800) 722-1235
Fax (213) 389-8514

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Wilson

"Tt wasn’t the only
impression that’s lasted. I remember
standing in the backyard. A
nine-year-old boy. Helpless.
Screaming."

Quote, "’Ouch. Stop, please.
Ouch!’ " Unquote.

"Tl was doubled over, lying on
the ground in a fetal position, trying
to shield whatever part of my skinny
little boy’s body I could from my
father. With a splintered
two-by-four, he delivered blows to my
back and midsection, standing over me,
a giant with a giant’s weapon,
swinging it over and over as if truly
delighted by the dull thud it made
against my torso.

"'Stop, Dad. Please.

You're hurting me.’ Why was he doing
this?

Moments earlier I had been
playing with our neighbor’s puppy,

which my dad had volunteered to watch

INTERIM COURT REPORTING

Page 15 of 32

205

Case 1:94-cv-00892-JEC-LFG Document161 Filed 04/21/97 Page 16 of 32

Wilson

while its owner was out of town. He
kept it chained in our backyard.
Wanting to play fetch with the dog, I
untied the little critter. But no
sooner did I loosen his collar than
the dog ran off into another yard.

"Although I called him, my
dad and not the dog came flying around
the house. The expression on his face
told me what was coming. He asked
what the hell happened, but didn’t
wait for me to answer. That was
obvious. Looking for something with
which to strike me, he picked up the
nearest implement -- the splintered
two-by-four -- and began swinging full
force into the center of my back.

"With the first blow, I let
out a cry and doubled over but he kept
swinging.

"'T thought I told you not

to unleash the dog,’ he said.
24 "’ Ouch!’ ‘Buckle up, ya

25 namby-pamby,’ he said.

206

INTERIM COURT REPORTING

Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 17 of 32

Wilson

"Ouch! ’

"One more shot to my leg and

he tossed the board to the side. I

didn’t dare look up at him as he went

back to the house.

"'And bring the mutt back,’

he called."

Do you recall such an incident

being recounted to you by either Murry or Brian?

A.

get that?

BY MR. RICH:

Q.

answer?

» OO FP OO FP YO P

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Never. Tt's ridiculous.

MS. DUMAS: Court Reporter, did you
THE REPORTER: (Nods head.)
You want to supplement your

Do I what?

Do you want to add to your answer?
It's a lot of hogwash.

How do you know?

I just know.

Were you there?

No.

How do you know it didn’t happen?

207

INTERIM COURT REPORTING

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 18 of 32

1 Wilson
2 A. I don’t think it happened. No. A
| 3 man picking up a splintered, what was it?
4 Q. Two-by-four board.
> 5 A Two-by-four. No. Tte’s not true.
6 Q. It’s not true?
7 A I don’t think it’s true at all.
2 8 No.
9 Q. And the basis for your belief that
10 it didn’t happen is what?
2 11 A. Well, I -- first of all, I think
12 Brian would have been bruised and have splinters
13 in him being whacked that hard. No. It didn’t
@ 14 happen. I don’t know where that came from.
15 Q. Were you aware of all instances in
16 which Murry lifted a hand to Brian?
® 17 A. I think so.
18 Q. How did you become aware of them?
19 A. Well, I was either around or the
e 20 boys told me.
21 Q. And you were never told of this
22 incident?
®
23 A. Never, huh-uh.
24 QO. You seem shocked by the reported
25 force of the beating. ‘
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208

INTERIM COURT REPORTING

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 19 of 32

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Wilson
A. I do.

QO. What is the harshest physical

unishment ou’re aware Murray ever administered
p y

to one or more of his sons?

A. I think he took his belt off, in
fact, I know he did, and -- I don’t know which
one -- cracked them across the rear end.

Q. How many times?

A. Oh, I don’t know. Not many.

Q. How old was the person who was

whacked with the belt?

A. Approximately nine.

Q. Who was it?

A. I don’t really know.

Q. How do you know it happened?

A. Because I was there.

Q. Did you approve of the beating?
A. Of course not.

Q. What did you do?

A. What did I do?

QO. Yes.

A. I probably yelled at Murry.

Q. Probably or do you remember yelling

at him?

210

INTERIM COURT REPORTING

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 20 of 32

Wilson

helplessly in the background, she

says, while Murry unleashed an arsenal

of sadistic punishments on the boys --

forcing a preteen Brian to defecate on

a newspaper to humiliate him or

punishing the brothers by forcing them

to stare into the socket of his false

eye."

A. Total, unmitigated gall and lie.
Lie, lie, lie.

Q. Everything stated in there is a

lie, lie, lie?

A. What is the beginning of it?

Q. Let’s go through it sentence by
sentence.

A. Sock -- where was I doing this?

Q. "Audree sobbed quietly and

helplessly in the background while Murry

unleashed an arsenal of sadistic punishments on

the boys."
A. Huh-uh. Huh-uh. He's an asshole.
Q. Having had this passage read to

you, is your recollection in any way refreshed,

Ms. Wilson, about giving an interview to Steven

259
INTERIM COURT REPORTING

OS ANGELESe 1:94-cv-0089219E87-LFE 41 PB oCUNKERE M COURTFRERTGA/21/97 3PAR7IPBMI32 2/16

> 1 UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF NEW MEXICO
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A we ene ee ee ee ee ee ee eee
» .
5 CARL WILSON, an individual, )
6 and AUDREE WILSON, an )
7 individual, )
° 8 Plaintiffs, )
9 vs. } No. CIV 94 892 JC
10 HARPERCOLLINS PUBLISHERS, INC., ) VOLUME ITI
° 11 a Delaware corporation, )
12 Defendant. . )
13 were ee ww ew ee ww wee ee mew ee ee we ee
° 14
15
16 Continued deposition of AUDREE WILSON,
e 17 at 10430 Wilshire Boulevard, Suite
18 1105S, Los Angeles, California,
13 commencing at 10:40 A.M., Friday,
e 20 January 17, 1997, before Marchelle.
21 Hartwig, CSR No. 9347.
22
@ 23
24
25 PAGES 332 - 342
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Vos ANGEPEST 94 CV 008925) ES GH 4 : 4BORUMENTER AM COURTEREP IO 1/97 Frage s7B Gi220;# 7/16

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Wilson

Q There is an allegation in your complaint
that you’ve suffered emotional distress and shame as
a result of the statements that you’ve sued on. My
question to you is, could you please describe for me
the emotional distress that you suffered.

A Well, it was humiliation, wondering if
the people I was meeting had read the book and
believed it. [It made me shy.

Q ‘What do you mean it made you shy?

A Well, it made me sort of withdrawn. In
my own head I felt that way.

MS. DUMAS: Could you read back the witness’s
full answer to me.

(Record read.)

MS. DUMAS: I think I’m done with my
questioning, but I think I will mark as an exhibit
this letter. just so we have a neat deposition record.
So here is a letter addressed to Tom Miller, Editor
of HarperCollins Publishers, dated August 8, 1991.
And it’s a letter from which I quoted earlier in my
questioning.

(Plaintiffs‘ Exhibit 26 was
marked for identification and is

annexed hereto.},

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337

INTERIM COURT REPORTING

Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 23 of 32

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 24 of 32
e
IN THE UNITED STATES DISTRICT COURT
° FOR THE DISTRICT OF NEW MEXICO
aa )
CARL WILSON, an individual, ) Case No. CIV 94 892 JC
and AUDREE WILSON, an )
individual, )
)
@ Plaintiffs, )
)
Vv. )
)
HARPERCOLLINS PUBLISHERS, )
INC., a Delaware corporation, )
® )
Defendant. )
)
e
DECLARATION OF CARL WILSON IN SUPPORT OF RESPONSE TO
HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT
RE AUDREE WILSON’S CLAIMS
®
I, Carl Wilson, hereby declare as follows:
1. This declaration discusses the falsity of passages from
® Wouldn’t It Be Nice, purportedly written by Brian Wilson with
Todd Gold (the "Book"), which are the subject of my mother Audree
Wilson’s libel action. This declaration is based on my personal
@ knowledge, and if I called as I witness I would and could testify
to the truthfulness of my declaration.
2. The Book (p. 27) accuses my mother Audree of failing
© to intercede in "flagrant child abuse going on in front of her",
against my brother Brian by my father Murry. The Book describes
the flagrant child abuse with the examples of Brian being tied to
®
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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 25 of 32

a tree, and Brian being hit repeatedly with a splintered 2x4
board across his back and midsection. To my knowledge those
incidents never occurred. If they had occurred, or if any
incidents of that magnitude had occurred, I surely have known
about them since I shared a room with my brother Brian and we
talked about the punishments we received from our father. While
our father did spank or hit us from time to time while we were
growing up, I never experienced or heard about the types of
flagrant child abuse described in the Book.

Executed this 19th day of March, 1997, at Los Angeles,
California.

I declare under penalty of perjury under the laws of the

United States of America that the regoing is true and correct.

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Carl Wilson

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Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 26 of 32

W Fae “Rut '
of California’s: ‘Top Gardeners "

fhe Beach Boys: Trying to Catch Another Wave

75 CENTS]. 3
AUGUST 16, 1976

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I Superstar
Women

/ Ann-Margre
And

Brian Wilson
$ Trying Hard To Catch
- Another Wave

By Steven Gaines .

Bis. NEW WEST/AUGUST 16. 1976 , - Photographed by Guy Webster _- J .

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ARABIA DINNERWARE

ANEMOME, RUSKA, TROUBADOUR. These are the names of
famous hand-painted, dishwasher proof stoneware patterns from

’ (left to right) .
NOW THRU ANEMONE ...... reg. 2475 bam 23.80
AUGUST 15 RUSKA......... reg. 28.00 bam 22.40

TROUBADOUR . .feg. 30.00 bam 24.00
an Mail order - 3.00 for postage & handling plus 6% Calif sales tax.

20%.-SALE)

D, and now they’re on sale at 20% off thelr regular prices.

A 5 piece place setting consists of a Dinner, Salad,
Bread/ Butter plate, Cup and Saucer.

SANTA BARBARA «

TORRANCE © 370-3688 © Del Amo Fashion Square
MARINA DEL REY * 822-3966 * Warehouse-store © 4729 Alla Ad.

, SHERMAN OAKS+= 66-2278 acre 583 #10014 ‘Sauer TH E POTTE R Y

. . SOON TO OPEN: Century City © La Jolla
: ALL STORES OPEN SUNDAY « 12.5
NEW YORK ¢ CONNECTICUT ¢ NEW JERSEY « PENNSYLVANIA

687-6707 © La Cumbre Plaza

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68 NEW WEST/AUGUST 16,1976

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eC. Kiddie pi Biscon-
CRAY Srcee. ¢ aside Da he will
give them to his daughters, Carnie,
eight, and Wendy, six-and-a-half,

“Children’s toys." Marilyn Wilson
Says angrily behind the crowd. “What
do people think he wants with children’s
toys?" .

The last gift is a set of stereophonic
headphones from Eugene Landy which
Brian dutifully puts on his head. “That's
just great.” Marilyn's sister shrieks, “for
Brian’s one good ear."

Audree Wilson sits on a sofa on the
other side of the room and proudly
watches as her oldest son Brian is pre-
sented with his birthday cake. “As a
youngster Brian was marvelous, very
together, a good student. a marvelous
athlete. No. he didn't have any prob-
lems. Of couse, there was the pressure of
his career. And his father was a very.
high-strung man. He would get uptight
about things that were just not that
important. But no. no real problems.”

No stage mother ever rivaled the Stage
father that the Beach Boys had in Mur-
ray Wilson. Murray met his wife Audree
at Washington High School, Los An-
geles. Their first son, Brian. was born in
1942. Dennis followed two years later,
and, soon after moving to Hawthorne,
five miles from the beaches her sons
were to make famous around the world,
Audige had her youngest child, Carl.

A igustrated songwriter, Murray Wil-
son owned a failing machinery shop-and
took out his, rage on his th.

HG Gis eye.

“My father just had a unique way of
showing his affection,” remembers Den-
nis Wilson, at 32 still a rugged and
handsome surfer type, “which consisted
of beating thé shit out of us. He burned
my hands for playing with matches and
beat me up in front of my.friends.

“The only thing my father really
loved was music. He knocked on doors
his whole life trying to get his tunes
played. His biggest dream was that Law-
rence Welk would record one of his
tunes. He even made a demo of one of
his songs and played it at home twenty
times a day. I can remember my Mom
frying bacon in the kitchen and him
laying in bed yelling, ‘Play it again! Play:

would cry ‘boo-hoo,’ like the lion in The
Wizard of Oz, when he heard music.”

It’s not surprising that in 1961, when.
the brothers were only nineteen, seven-
teen, and fifteen years old, the? formed
a rock group with Mike Love and Al

arn)

Jardine called Kenny and the Kadets,

‘it again!’ Boy, he loved the-music. He .

Case 1:94-cv-00892-JEC-LFG Document161_ Filed 04/21/97 Page 30 of 32

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gnot to laugh, covering
Yand Brian would keep
fall asleep harmonizing
gme Down, Come Down
membered Murry with
gthers. “When my dad
uke,” he said. “It sounded

119th Street and Korn-
stivity. With three grow-
of friends, there were
me of catch, or touch
yat the helm, coaching,
On Saturdays the boys
shop in east L.A. and
uthey all dreaded. Murry
BY dad: as far as he was
idy-buddy, and nothing
fiends that he had told
yeball to eyeball,” all in
tty. Some nights, Murry
room and make them
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RY a strict father. But

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pthe ordinary. But Mur-
mit crack. Twenty years
Onal issue, it would be

HEROES AND VILLAINS 47

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“My father resented the fucking kids to death,” was Dennis's
explanation for it. “The motherfucker hated us, or he would
have loved the shit out of us. It’s that fucking simple. That
asshole beat the shit out of us.” Then Dennis grinned sardon-
ically. “He just had a very unique way of expressing himself
physically with his kids,” he said. “Instead of saying, ‘Son,
you shouldn’t shoot a beebee gun at the streetlight,’ he’d go
boooom!!! I got the blunt end of the broom. Crack! One minute
late! Just one minute late! Boom! And that’s it. Brian and Carl
would hide in the bathroom, ‘Oh God! He’s getting it!’ Later
they’d ask, ‘Did it hurt, Dennis?’”

Murry’s father beat him; Murry beat his children. Audrea,
watched helplessly from the sidelines, according to Dennis,
frightened of Murry herself. “Ohh, please, Murry, no, don’t do
that.” ;

According to Audree, “He was a taskmaster. He really was.
He was tough. And I used to think he was too tough. But, it
was a very hard job for him having three teenage boys. He used
to call them ‘young stallions.’”’:

“Denny did [get] some pretty hard spankings...” Audree +
said. “Dennis reminds me very much of his father. Sometimes
I think, I don’t believe this, it's like Murry revisited. Dennis
got the worst of it. Because he was more aggressive. But what
constitutes a beating, I don’t know.”

Indeed, if beating the boys had been all Murry did, it would
have been one thing. But Murry had red-faced, screaming,
roaring tantrums. On many occasions his punishments went
beyond simple beatings into the realm of the sadistic. Dennis
spoke of Murry beating him up in the bathtub so he couldn’t
break anything by kicking. @ }: a.preteen Brian,

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